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 4

 5
                                     UNITED STATES DISTRICT COURT
 6
                                     EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES,                                   No. 16-CR-0199 GEB
 9
                        Plaintiff,
10
            v.                                        STIPULATION AND PROPOSED ORDER
11                                                    CONTINUING THE STATUS
     KIONI M. DOGAN, et. al.,                         CONFERENCE SET FOR AUGUST 25,
12                                                    2017 TO OCTOBER 27, 2017 AT 9:00 A.M.
                        Defendants.
13

14

15           IT IS HEREBY STIPULATED AND AGREED between the defendants, Kioni Dogan,

16   Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel, and the

17   United States of America, by and through its counsel, Assistant U.S. Attorney Jared Dolan, that

18   the status conference presently set for August 25, 2017 should be continued to October 27, 2017

19   at 9:00 a.m., and that time under the Speedy Trial Act should be excluded from August 25, 2017

20   through October 27, 2017.

21          The reason for the continuance is that Mr. Locke and other defense counsel need

22   additional time to review the discovery and to conduct investigation. The defense is specifically

23   engaged in attempting to discover how the instant case relates to two similar cases, United States

24   v. Holimon, 15-237 and United States v. Alexander, 16-179, currently being litigated in this

25   Court. There are over 14,000 pages of discovery and multiple search warrants were executed that

26   are relevant to this case and the other two cases. The defense is also attempting to establish

27   whether a fourth case, United States v. Dogan, 16-198 is related in fact to this case. Additionally,

28   at the request of the defense, the government is working on providing a spreadsheet detailing the
                                                      1
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 1   loss amounts for each defendant. While the defense will continue to review the discovery that has

 2   been provided, and conduct their own independent investigation, further information from the

 3   government will greatly decrease the amount of analysis required to assess the case and determine

 4   what further defense investigation is necessary. The exclusion of time is also necessary to ensure

 5   continuity of counsel. Accordingly, the time between August 25, 2017 and October 27, 2017

 6   should be excluded from the Speedy Trial calculation pursuant to Title 18, States Code, Section

 7   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends

 8   of justice served by granting this continuance outweigh the best interests of the public and the

 9   defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Dolan, Mr. Foster and Mr. Wilson

10   have authorized Mr. Locke to sign this pleading for them.

11
     DATED: August 22, 2017                        /s/ Bruce Locke
12                                                 BRUCE LOCKE
                                                   Attorney for Kioni Dogan
13
     DATED: August 22, 2017                        /s/ Bruce Locke
14                                                 For GREGORY FOSTER
                                                   Attorney for Gloria Harris
15
     DATED: August 22, 2017                        /s/ Bruce Locke
16                                                 For ROBERT WILSON
                                                   Attorney for LAVONDA BAILEY
17
     DATED: August 22, 2017                        /s/ Bruce Locke
18                                                 For JARED DOLAN
                                                   Attorney for the United States
19

20
21
            The Court finds, for the reasons stated above, that the ends of justice served by granting
22
     this continuance outweigh the best interests of the public and the defendants in a speedy trial, and,
23
     therefore.
24
            IT IS SO ORDERED.
25
     Dated: August 22, 2017
26
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